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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 24-60891-CIV-SINGHAL

  INTER-COASTAL WATERWAYS, LLC,

           Plaintiff,

  v.

  TRADESTATION SECURITIES, INC.,

       Defendant.
  ______________________________________/
                                             ORDER

           THIS CAUSE is before the Court on the parties’ Joint Stipulation for Briefing

  Schedule in response to Plaintiff Inter-Coastal Waterways, LLC’s Motion to Reopen

  Action and Leave to File an Amended Complaint. (DE [59]). The Court previously stayed

  this action and compelled, over Plaintiff’s objections, the parties to submit to arbitration

  under the terms of the parties’ agreements. See Order (DE [51]). The arbitration is to be

  conducted before a FINRA panel in accordance with its arbitration rules then in force. Id.

           Plaintiff recently filed a motion to reopen the case and convert it to a class action

  complaint on behalf of itself and other similarly situated Tradestation Securities, Inc.

  customers. (DE [54]). According to Plaintiff, FINRA’s arbitration rules do not permit

  adjudication of class action claims. Plaintiff, therefore, requests leave to file an Amended

  Complaint on behalf of itself and a putative class.

           Tradestation filed a “limited response” (DE [57]) to the Motion because Plaintiff has

  filed an appeal of the order compelling arbitration. See Notice of Appeal (DE [52]). “The

  filing of a notice of appeal divests the district court of jurisdiction over those aspects of

  the case that are the subject of the appeal.” Doe v. Bush, 261 F.3d 1037, 1064 (11th Cir,

  2001).
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          Plaintiff filed a reply (DE [58]) in which it stated it would dismiss the Eleventh Circuit

  appeal as soon as possible so this Court could consider its request to re-open the case. 1

  The parties recently agreed that the appeal would be dismissed and ask the Court to

  strike Tradestation’s limited response and provide a briefing schedule to address the

  merits of Plaintiff’s Motion to Reopen Case. Accordingly, it is hereby

          ORDERED AND ADJUDGED that Tradestation’s Response (DE [57]) to Inter-

  Coastal Waterways, LLC’s Motion to Reopen Action and Leave to File an Amended

  Complaint is STRICKEN. Tradestation shall file a response to Plaintiff’s Motion to Re-

  open Case (DE [54]) within fourteen (14) days from the date the appeal is dismissed and

  Plaintiff shall file a reply within seven (7) days of Tradestation’s response.

          DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 2nd day of

  January 2025.




  Copies furnished counsel via CM/ECF




  1
   Plaintiff is represented by counsel and has surely been advised of the risk of dismissing its appeal to
  pursue the possibility of filing a class action complaint.
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